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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


 ANDREW CORZO, SIA HENRY, ALEXANDER
 LEO-GUERRA, MICHAEL MAERLENDER,
 BRANDON PIYEVSKY, BENJAMIN SHUMATE,
 BRITTANY TATIANA WEAVER, and
 CAMERON WILLIAMS, individually and on
 behalf of all others similarly situated,

                               Plaintiffs,

                          v.

 BROWN UNIVERSITY, CALIFORNIA                          Case No.: 1:22-cv-00125
 INSTITUTE OF TECHNOLOGY, UNIVERSITY
                                                       Hon. Matthew F. Kennelly
 OF CHICAGO, THE TRUSTEES OF COLUMBIA
 UNIVERSITY IN THE CITY OF NEW YORK,
 CORNELL UNIVERSITY, TRUSTEES OF
 DARTMOUTH COLLEGE, DUKE UNIVERSITY,
 EMORY UNIVERSITY, GEORGETOWN
 UNIVERSITY, THE JOHNS HOPKINS
 UNIVERSITY, MASSACHUSETTS INSTITUTE
 OF TECHNOLOGY, NORTHWESTERN
 UNIVERSITY, UNIVERSITY OF NOTRE DAME
 DU LAC, THE TRUSTEES OF THE
 UNIVERSITY OF PENNSYLVANIA, WILLIAM
 MARSH RICE UNIVERSITY, VANDERBILT
 UNIVERSITY, and YALE UNIVERSITY,

                               Defendants.


      MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION FOR
    RECONSIDERATION OF THE COURT’S MAY 31, 2023 RULING ON
PLAINTIFFS’ MOTION TO LIMIT REDACTIONS OR, IN THE ALTERNATIVE,
                  MOTION FOR CLARIFICATION
       In the hearing in this matter on May 31, 2023, the Court denied without prejudice

Plaintiffs’ Motion to Limit Redactions As to Northwestern and Yale (the “Motion”),

stating, “[Y]ou’ll come back to me at some point in time when you’ve done the


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depositions and you aren’t able to get information that you think you need and can show

me that you need in order to try to establish these claims.” May 31, 2023 Hearing Tr.

18:25-19:3. Plaintiffs move for reconsideration for three reasons.

       First, since Plaintiffs filed their Motion on May 9, 2023, Defendants Columbia,

Cornell, Duke, Emory, Georgetown, Johns Hopkins, MIT, Notre Dame, Penn, Rice, and

Yale have produced hundreds of additional, relevant documents demonstrating that the

problem of redacted donor names goes far beyond what Plaintiffs or the Court understood

at the time of the May 31 ruling.

       Second, the audio interruption during the May 31 hearing may have diverted the

Court from asking Plaintiffs’ counsel to respond to Defendants’ arguments about the

applicability of FERPA. In reaching its decision on the Motion, the Court directly relied

on Defendants’ position that the documents in question are education records under that

statute, but that position is erroneous under the law of this case.

       Third, the Court appears to have misapprehended the 568 Exemption statute, as

Defendants led the Court to believe that deponent answers about general university

policies concerning donations and their influence on the consideration of applicants might

be sufficient for Plaintiffs at this time. See May 31, 2023 Tr. 14:11-15:4 (“Why can’t you

ask about [wealth favoritism] in . . . terms of policies,” and then when witnesses “say it

depends[,]” . . . you come back to me . . . [and] I’m going to say okay, here it is,

Northwestern, or here it is, Yale, now you’re going to have to cough this up because I got

people who can’t answer questions and I got a plaintiff that can’t figure out something

that’s critical to their case and it’s not going to work that way.”). The words of Section

568 require “all students [to be] admitted . . . without regard to the financial circumstances



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of the student involved or the student’s family.” 15 U.S.C. § 1 note (emphasis added).

Plaintiffs therefore must tie donation influence by the student’s family to an admission.

Even the most damning revenue maximizing donation policy, such as is shown on the

Yale exhibits to Plaintiffs’ Memorandum in Support of Their Motion to Limit Redactions

and Reply, does not prove Plaintiffs’ case unless it is tied to the admission of a member of

the donor’s family.

        Plaintiffs therefore ask the Court to reconsider its May 31 ruling or clarify that

Plaintiffs need only show that the absence of donor names had an adverse effect on at least

one witness for a given Defendant before the Court revisits the redaction of donor names

coupled with the failure to insert unique identifiers (UIDs) for the applicant.

   I.      LEGAL STANDARD
        Motions to reconsider are interlocutory orders governed by Federal Rule Civil

Procedure 54(b). Patrick v. City of Chicago, 103 F. Supp. 3d 907, 911 (N.D. Ill. 2015). “A

court may exercise its inherent authority to reconsider an interlocutory order because such

orders are ‘subject to revision at any time before the entry of judgment adjudicating all of

the claims.’” Zurich Capital Mkts. Inc. v. Coglianese, 383 F. Supp. 2d 1041, 1045 (N.D.

Ill. 2005) (quoting Rule 54(b)).

               A motion for reconsideration performs a valuable function
               where the Court has patently misunderstood a party, or has
               made a decision outside the adversarial issues presented to
               the Court by the parties, or has made an error of reasoning but
               not apprehension. A further basis for a motion to reconsider
               would be a controlling or significant change in the law or
               facts since the submission of the issue to the Court.
Bank of Waunakee v. Rochester Cheese Sales, Inc., 906 F.2d 1185, 1191 (7th Cir. 1990)

(quotations omitted).



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    II.       ARGUMENT

          A. Defendants have produced over 300 new documents that demonstrate that
             the scope of the problem regarding the redaction of donor names is much
             broader than was known at the time Plaintiffs filed their Motion to Limit
             Redactions as to Northwestern and Yale.
          On or after May 9, 2023, the date Plaintiffs filed their Motion to Limit Redactions,

Defendants have collectively produced 311,165 additional pages of documents.1 See Ex.

A. Over 300 of these documents directly concern donor-linked applicants but contain

redacted donor names and many missing UIDs for the applicants in question.2 The sheer

volume of new documents across nearly all Defendants shows that the problem of

redacted donor names will more seriously hamper Plaintiffs’ ability to prove the case as

required by the 568 statute than was previously understood, and thus constitutes a

significant change in fact warranting reconsideration. Bank of Waunakee, 906 F.2d at

1191.

          On May 31, the Court denied Plaintiffs’ motion without prejudice, finding that no

circumstances convinced the Court it was appropriate to deviate from its February 8, 2023

oral ruling on a separate, albeit related, issue. See May 31, 2023 Tr. 18:15-21. That is, on

February 8, the Court held that Defendants need not designate custodians in the

President’s and Development Offices until it is established that there are relevant

documents in those offices that have not yet been produced. See Feb 8, 2023 Tr. 54:14-20;




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           In addition, Defendants California Institute of Technology, Columbia University, Cornell
University, Emory University, Georgetown University, Johns Hopkins University, Massachusetts
Institute of Technology, Rice University, and Yale University collectively produced nearly 15,000
pages of documents after the Court’s firm deadline for completion of May 15, 2023. See Ex. A.
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          See Exhibit B for a list of documents concerning donor-linked admissions produced on
or after May 9, 2023 in which donor names and other relevant information are redacted.


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ECF No. 315. But the February 8 ruling focused on the President’s and Development

Offices, whereas the issue of redacting donor names pertains to documents Defendants

have already produced from other custodians in other offices. The Court stated that it was

“putting the pause” on designating custodians so that depositions could make clear

whether there was a basis for believing that document production from the current sources

was insufficient. See Feb. 8, 2023 Tr. 49:11-18, 54:14-25, 55:1-3.

       Here, Plaintiffs are requesting that the Court require Defendants to unredact donor

names, not to designate additional custodians or produce additional documents, which is a

different issue. The only relationship between the February 8, 2023 ruling and Plaintiffs’

Motion to Limit Redactions is that Plaintiffs maintain unredacting donor names is

appropriate because Plaintiffs’ access to donor names will make targeting documents in

the custody of the President’s and Development Offices, and the depositions of individuals

in those offices, more productive.

       Per the Court’s May 31, 2023 ruling denying Plaintiffs’ motion without prejudice,

Plaintiffs must (1) depose all relevant witnesses, (2) wait until the deponents are unable to

answer a question about the admission of donor-linked applicants due to the redactions,

(3) file a renewed motion to limit redactions of donor names, (4) request to reopen the

depositions of all affected deponents, and (5) redepose all such deponents. See May 31,

2023 Tr. 18:23-19:3 (“I don’t want to get another two, six, eight, or 14 motions like this

now. You’re going to do it the way I said, and you’ll come back at some point in time

when you’ve done the depositions and you aren’t able to get information that you need

and can show me that you need in order to try to establish the claims.”). The scope of the

problem is compounded where Defendants have not inserted the UID for the applicant in



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question because Plaintiffs must also prove that the applicant (a) was admitted and (b) was

a family member. Without the UID, it will be difficult for a deponent to answer those

questions. Plaintiffs will likely need to reopen the depositions of a majority of witnesses.

       The Court acknowledged this likely outcome, stating, “[W]e can predict what’s

going to happen here. Somebody’s going to get in a deposition – I’m still looking at

Exhibit B, I guess, which is, you know, we’re going to ask about the first entry here,

you’re going to say, what happened with that person? And the deponent is going to say,

how the heck am I supposed to know. I can’t even tell who it was. And then we’re going

to be right back where we are not with . . . plaintiffs not being able to get information that

basically I more or less already concluded they need.” May 31, 2023 Tr. 16:17-17:1.

       The issue of donor preference in admissions directly touches on the roles and

responsibilities of all witnesses involved in admissions, development, and enrollment

management, and many, if not all, university presidents. Every Defendant is affected. See

Ex. C, BROWN_0000150276; Ex. D, CALTECH000031816; Ex. E,

Columbia_00292570; Ex. F, CORNELL_LIT_0000355733; Ex. G,

DARTMOUTH_0000221307; Ex. H, DUKE568_0153213; Ex. I,

Emory_568Lit_0092371; Ex. J, GTWNU_0000327521; Ex. K, JHULIT_0000060602; Ex.

L, MITLIT-000649110; Ex. M, ND_0291829; Ex. N, NULIT-0000159158; Ex. O,

PENN568-LIT-00158494; Ex. P, RICE_LIT0000168041; Ex. Q,

UCHICAGO_0000282061; Ex. R, VANDERBILT-00301776; Ex. S,

YALE_LIT_0000328851. Plaintiffs have noticed 22 upcoming depositions. Of those,

Plaintiffs expect that at least 12 will directly implicate documents with redacted donor

names. Extrapolating that figure to the total number of depositions to which Plaintiffs are



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entitled, Plaintiffs expect that 98 witnesses may need their depositions reopened.

Redeposing nearly 100 witnesses is inefficient and burdensome for all Parties, the Court,

and for non-party former employees, many of whom no longer reside in the same city or

even the same state as their former university employer. This Court recognized this

probability: “So why are we going through this exercise? Why don’t we just jump ahead

and get to the next step so that people aren’t spending the next three months basically in a

big wheel-spinning exercise?”. May 31, 2023 Tr. 17:2-5.

       B. The audio interruption during the hearing may have prevented the Court
          from obtaining Plaintiffs’ response to the question of the impact of
          FERPA on uncovering donor names.
       During the May 31, 2023 hearing, there was an audio interruption that required all

participants to hang up from the telephonic hearing. See May 31, 2023 Tr. 5:7-8. At the

time of the interruption, the Court was asking Defendant Northwestern to explain why

FERPA protected donor names at all. Id. Tr. 4:25-5:6. The audio interruption may have

diverted the Court from asking Plaintiffs’ counsel to respond to Defendants’ argument on

which the Court directly relied in denying Plaintiffs’ motion without prejudice. Id. 18:15-

21 (“The reason I kicked that can down the road, which is more or less what I did, had to

do with the arguably cumbersome nature of the procedures that are required under FERPA

for disclosure of, quote/unquote, education records and personally identifiable

information. And I thought it made more sense to not do that right now. I’m not persuaded

that should change.”). In other words, these technical difficulties may have caused the

Court to misunderstand Plaintiffs’ position, which is grounds for reconsideration. Bank of

Waunakee, 906 F.2d at 1191.

       Plaintiffs were prepared to respond to Defendants’ argument by explaining (a) how

Defendants misconstrued FERPA and that many or most of the documents containing

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redacted donor names are not protected by FERPA at all, and (b) that under the FERPA

Order entered by this Court (ECF No. 231), notification of the subset of applicants

admitted on account of donor influence by their family is not at all burdensome.

       Under FERPA, an “education record” is a record “directly related to a student”

that is “maintained by an educational agency or institution or a party acting for or on

behalf of the agency or institution.” 34 C.F.R. § 99.3 (emphasis added). Education records

“include but are not limited to grades, transcripts, class lists, student course schedules,

health records (at the K-12 level), student financial information (at the postsecondary

level), and student discipline files.” U.S. DEPARTMENT OF EDUCATION, Protecting Student

Privacy: What Is an Education Record? (last visited June 15, 2023),

https://studentprivacy.ed.gov/faq/what-education-record. So under the statute and

regulations, not every document containing a student’s name is an education record.

       Instead of engaging with the Court on whether the donation records, which

analyzed the donor’s lifetime giving, net worth, and capacity for future donations, with

only incidental mention of the applicant’s qualifications, were “directly related to a

student” such that they constituted “education records” under FERPA, Defendants argued

that donor names were personally identifiable information (PII) under FERPA. However,

whether information is PII is only relevant once it has already been established that the

document is an education record. If donation records are not education records, then it

does not matter whether the document contains information that might identify a student.

Plaintiffs maintain that most, if not all, the donation records presented to the Court are not

education records because they analyze information about the donors and their donations,

not the applicants, and the donation records are nothing like the documents contained in



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the illustrative list of education records articulated by the U.S. Department of Education.

See U.S. DEPARTMENT OF EDUCATION, Protecting Student Privacy: What Is an Education

Record? (last visited June 13, 2023), https://studentprivacy.ed.gov/faq/what-education-

record.

          If the Court ordered Defendants to disclose donor names,3 all Defendants would

have to do if they were truly concerned that such disclosure violated FERPA would be to

make “a reasonable effort . . . to notify the parent or eligible student of the [Court’s] order

. . . in advance of compliance.” 34 C.F.R. § 99.31(a)(9)(i)-(ii) (emphasis added). Pursuant

to the FERPA Order entered in this case, notice sent “by email to the most recent

electronic mail address in the Defendant’s possession for each of the affected or, if no

such email address is available, by mail to the last known address of the applicant or

student . . . will be deemed a reasonable effort irrespective of whether any electronic mail

address or physical address proves to be outdated.” FERPA Order, ECF No. 231, at 3.

Court-ordered disclosure of donor names thus does not require Defendants to undertake

burdensome efforts to comply with FERPA. All that is required is that Defendants send

the form notice already prepared and attached to the FERPA Order to the last known email

address or mailing address of a subset of affected individuals.

          C. The lack of donor names impacts more than depositions.
          The 568 Exemption requires only that all admitted students be admitted without

regard to their or their family’s financial circumstances. 15 U.S.C. § 1 note. As a result,

Plaintiffs must be able to demonstrate that donor-linked applicants were family members




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          FERPA permits disclosure of education records without consent in compliance with a
lawfully issued subpoena or judicial order. 34 C.F.R. § 99.31(a)(9)(i) and (ii).

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who were admitted with consideration of their financial circumstances to prove that

Defendants were not entitled to the 568 Exemption.

       The Court’s May 31 ruling requires Plaintiffs to wait until all relevant deponents

have been unable to answer questions about donors and whether their family member was

admitted before Plaintiffs can renew their motion to limit redactions. Defendants actually

argued the statute backwards to the Court. They argued that they redacted donor names

where they might identify the applicant as a family member. That is precisely what

Plaintiffs must prove, and this Court repeatedly ruled that Plaintiffs are entitled to prove

their case. See, e.g. February 8, 2023 Tr. 42:1-15; ECF No. 315. A donor or donation

unrelated to a family member (and thus not redacted by Defendants) is not as relevant.

       While six Defendants (including Northwestern and Yale) dropped their 568

Exemption, they have not stipulated that donations (a) resulted in the admission of family

members, (b) quantified how many slots they sold to the wealthy and the revenue they

maximized as a result each year, or (c) the steps they took to hide their years of voluntary

violations of the 568 Exemption and the Sherman Act. Absent such a stipulation by every

Defendant, they have not given Plaintiffs or this Court much of a choice how to proceed.

       Moreover, the Court’s ruling appears to embody the assumption that Plaintiffs’

access to donor names is only relevant to depositions. However, Plaintiffs also require

donor names in order to conduct statistical analyzes of admissions data to determine

whether and to what extent donor-linked applicants were given preference in the

admissions process.



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              making statistical analysis with only the structured data impossible. And for

other Defendants, no such flags exist in the structured data that allow Plaintiffs to

determine whether an applicant received special consideration, leaving Plaintiffs with only

the redacted donation records. Moreover, redacted donor names prevent Plaintiffs from

determining a donor’s total contributions to a Defendant, donations closely following an

applicant’s admission, or whether a donor was able to influence the admission of multiple

applicants. These data are critical for determining what level of wealth was required for a

donor connection to tip the scales of a related applicant, and to what extent the scales were

tipped.

          Should Plaintiffs be required to wait until the conclusion of all depositions of

admissions officers, development officials, enrollment management administrators, and

presidents to obtain the names of donors, Plaintiffs will be prejudiced in their ability to

prove their case.

          D. Defendants’ compounded failures to comply with the Confidentiality and
             FERPA Orders make it impossible for Plaintiffs to prove that donor-
             linked applicants were admitted because of their family donor affiliations
             or even admitted at all.
          Defendants shrewdly compounded the redaction of donor names with the omission

of UIDs required by the Confidentiality Order and the excessive redaction of the summary

descriptions for admissions decisionmakers, thus making it next to impossible for

plaintiffs to prove the admissions decision element of the 568 Exemption. See

Confidentiality Order, ECF No. 254, ¶ 8I; 15 U.S.C. § 1 note (requiring that students be

“admitted” . . . without regard to the financial circumstances of the student or the student’s


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family” (emphasis added)). The Court warned Defendants not to produce National

Security Agency-style redactions,4 but that’s precisely what Northwestern and Yale

(whose exhibits were previously before the Court), and now Columbia, Cornell,

Dartmouth, Emory, and Georgetown among others, have produced. See, e.g., Ex. E,

Columbia_00292570; Ex. F, CORNELL_LIT0000355733; Ex. H, DUKE568_0153213;

Ex. G, DARTMOUTH_0000221307; Ex. I, Emory_568Lit_0092371; Ex. J,

GTWNU_0000327521. Even the Court was surprised: “I guess I wasn’t specifically aware

that the latter was going to happen. . . .” May 31, 2023 Tr. 18:8-9. “The latter” did not

have to happen: these are “donation records,” separately defined in the Confidentiality

Order from “education records.” ECF No. 254 at ¶ 8(a)(3)-(4). Defendants should not

have redacted anything. Moreover, Defendants could certainly have left unredacted some

applicant data such as SAT/ACT/AP scores, high school class rank or GPA, etc. that

would not have identified the applicant. Instead, Plaintiffs are left with the nearly

impossible task of deciphering documents that fail to provide unique identifiers for

students, improperly redact their academic credentials, and redact donor names.

   III.         CONCLUSION

          In light of the large number of relevant documents produced after Plaintiffs filed

their Motion to Limit Redactions, the audio interruption that occurred during the May 31

hearing, and Defendants’ misdirection of what the 568 statute requires Plaintiffs to prove,

Plaintiffs respectfully request that the Court reconsider or clarify its ruling denying

Plaintiffs’ motion without prejudice. Plaintiffs specifically request that:

         the Court order Defendants to unredact all donor names; and where the structured
          data does not yield a UID that must be inserted in the donation record, either create

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              Oct. 26, 2022 Hearing Tr. 40:16-18.

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      one or name the applicant, and if defendant believes it necessary, give FERPA
      notice for the subset of applicants at issue;
     the Court order Defendants to unredact applicant data such as SAT/ACT/AP/GPA
      information, the captaincy of a sports team, and other data that do not in the
      summary document identify the applicant;
     should the Court decline to order Defendants to unredact all donor names, that the
      Court clarify that Plaintiffs need only show that the absence of donor names had an
      adverse effect on one witness per Defendant before Plaintiffs may come back to
      the Court to reconsider whether donor names should be unredacted.

Dated: June 15, 2023                                    Respectfully Submitted,

By:/s/Robert D. Gilbert                                 /s/ Edward J. Normand
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Elpidio Villarreal                                      Edward J. Normand
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